Case 1:19-cr-10080-LTS Document 2719-65 Filed 08/15/23 Page 1 of 4




         EXHIBIT 67
         Case 1:19-cr-10080-LTS Document 2719-65 Filed 08/15/23 Page 2 of 4




                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA
                                                             Cr. No. 19-10080-LTS
            v.

 JOHN WILSON,

            Defendant


                              DECLARATION OF MICHAEL KENDALL

          I, Michael Kendall, declare the following:

          1.         I am an attorney with the law firm White & Case LLP. My office is at 75 State

Street, Boston, Massachusetts. I am licensed to practice in Massachusetts and before this Court.

          2.         I represent John Wilson in this matter. I make this declaration in support of Mr.

Wilson’s Sentencing Memorandum.

          3.         As part of my representation of Mr. Wilson in this matter, I undertook an

extensive effort to discover any IRS or university precedent relating to requiring a donor to a

university to offset the charitable deduction for that donation as a result of receiving some

admissions consideration in connection with the donation. I found none.

          4.         As part of this effort, I caused five separate requests to be served on the IRS under

the Freedom of Information Act (“FOIA”).

          5.         The IRS denied two of these FOIA requests, those seeking (a) any deductions of

donations to the University of Southern California (“USC”) that were disallowed or reduced

because the school gave favorable admissions consideration to an applicant associated with the

donor or donation, and such consideration was treated as goods or services given in return for the

donation; and (b) any penalties the IRS had imposed on USC for failing to make the disclosures

 10/22/2020 13:01
 AMERICAS 104532906 v3
         Case 1:19-cr-10080-LTS Document 2719-65 Filed 08/15/23 Page 3 of 4




the Internal Revenue Code requires charitable recipients to make regarding goods or services

provided in exchange for a donation.

          6.         As to three of the FOIA requests, the IRS responded that it had conducted a

search and found no responsive records for: (a) deductions of donations to a non-profit college

or university within the United States, for 2010-2018, that were disallowed or reduced because

the school gave favorable admissions consideration to an applicant associated with the donor or

donation, and such consideration was treated as goods or services given in return for the

donation; (b) any penalties the IRS had imposed, for 2010-2018, on any non-profit colleges and

universities for failing to make the disclosures the Internal Revenue Code requires charitable

recipients to make regarding goods or services provided in exchange for a donation; and (c) IRS

guidance on whether a deduction of a donation to a non-profit college or university should be

disallowed or reduced because the school gave favorable admissions consideration to an

applicant associated with the donor or donation and such consideration was treated as goods or

services given in return for the donation.

          7.         I also conducted several interviews of knowledgeable individuals in support of

this overall effort, including (a) former revenue agents of the IRS, including one who had been

assigned to the IRS Exempt Organizations division responsible for non-profit colleges and

universities; (b) certified public accountants who specialize in non-profit organizations; and (c)

tax lawyers who specialize in non-profit organizations. None of those individuals was aware of

any precedent for the IRS taking the position that a charitable deduction to a non-profit college

or university should be disallowed or reduced because the school gave favorable admissions

consideration to an applicant associated with the donor or donation, and such consideration was




 10/22/2020 13:01
 AMERICAS 104532906 v3                               2
         Case 1:19-cr-10080-LTS Document 2719-65 Filed 08/15/23 Page 4 of 4




treated as goods or services given in return for the donation. Nor were they aware of any

university taking that position or providing such disclosures.

          8.         I also both conducted my own search, and directed others to search, for any

guidance or ruling by the IRS on this issue, including on the IRS website, IRS advisory opinions,

and other public sources. We were unable to find any guidance or ruling by the IRS on the

question of whether a deduction of a donation to a non-profit college or university should be

disallowed or reduced because the school gave favorable admissions consideration to an

applicant associated with the donor or donation, and such consideration was treated as goods or

services given in return for the donation.

          This 14th day of August, 2023.

                                                  /s/ Michael Kendall
                                                  Michael Kendall




 10/22/2020 13:01
 AMERICAS 104532906 v3                               3
